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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.

  CHARLOTTE E. NICHOLAS,

        Plaintiff,

  v.

  ALLIANCEONE RECEIVABLES
  MANAGEMENT, INC.,

       Defendant.
  _________________________________________/

                                    COMPLAINT
                                   JURY DEMAND

        1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

  U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

  Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                           JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

  15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

  and Defendant placed telephone calls into this District.

                                       PARTIES

        3.     Plaintiff, CHARLOTTE E. NICHOLAS, is a natural person, and

  citizen of the State of Florida, residing in Broward County, Florida.
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         4.    Defendant, ALLIANCEONE RECEIVABLES MANAGEMENT,

  INC., is a professional corporation and citizen of the State of Pennsylvania with its

  principal place of business at Suite 300, 4850 East Street Road, Trevose,

  Pennsylvania 19053.

         5.    Defendant regularly uses the mail and telephone in a business the

  principal purpose of which is the collection of debts.

         6.    Defendant regularly collects or attempts to collect debts for other

  parties.

         7.    Defendant is a “debt collector” as defined in the FDCPA.

         8.    Defendant was acting as a debt collector with respect to the collection

  of Plaintiff’s alleged debt.

                                 FACTUAL ALLEGATIONS

         9.    Defendant sought to collect from Plaintiff an alleged debt arising from

  transactions incurred for personal, family or household purposes.

         10.   Defendant left the following messages on Plaintiff’s voice mail on or

  about the dates stated:

         March 6, 2009 call #1 – Pre-Recorded Message
         Charlotte Nicholas. If this is Charlotte Nicholas, please press 3 now. If you
         are not Charlotte Nicholas, please press 4 now. Hello, this is Alliance One.
         We’re trying to get in contact with Charlotte Nicholas. If this is Charlotte
         Nicholas, please press 3 now. If you are not Charlotte Nicholas, please press
         4 now.




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        Hello, this is Alliance One. We’re trying to get in contact with Charlotte
        Nicholas. If this is Charlotte Nicholas, please press 3 now. If you are not
        Charlotte Nicholas, please press 4 now.

        March 6, 2009 call #2 – Pre-Recorded Message
        This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message, you acknowledge that you are Charlotte Nicholas. This is Alliance
        One, a debt collection company. This is an attempt to collect a debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018. Thank you.

        March 6, 2009 call #3 – Pre-Recorded Message
        This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message, you acknowledge that you are Charlotte Nicholas. Charlotte
        Nicholas, you should not play this message if other people can hear it as it
        contains personal and private information. There will now be a 3 second
        pause to allow you to play this message in private. This is Alliance One
        Receivables Management, Incorporated, a debt collection company. This is
        an attempt to collect a debt and any information obtained will be used for
        that purpose. Please call us back at 888-541-7018. Thank you.

        March 24, 2009 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. This is Alliance
        One a debt collection company. This is an attempt to collect at debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018. Thank you.

        March 27, 2009 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. Charlotte
        Nicholas you should not play this message with other people can hear it as it
        contain personal and private information, there will now be a 3 second pause
        to allow you to play this message in private.
        This is Alliance One Receivables Management Inc. a debt collection
        company. This is an attempt to collect at debt and any information obtained

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        will be used for that purpose. Please call us back at 888-541-7018. Thank
        you.

        March 30, 2009 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. Charlotte
        Nicholas you should not play this message with other people can hear it as it
        contain personal and private information, there will now be a 3 second pause
        to allow you to play this message in private.
        This is Alliance One Receivables Management Inc. a debt collection
        company. This is an attempt to collect at debt and any information obtained
        will be used for that purpose. Please call us back at 888-541-7018. Thank
        you.

        April 23, 2009 call #1 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. This is Alliance
        One a debt collection company. This is an attempt to collect at debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018 Thank you.

        April 23, 2009 call #2 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. This is Alliance
        One a debt collection company. This is an attempt to collect at debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018. Thank you.

        April 23, 2009 call #3 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. Charlotte
        Nicholas you should not play this message with other people can hear it as it
        contain personal and private information, there will now be a 3 second pause
        to allow you to play this message in private.
        This is Alliance One Receivables Management Inc. a debt collection
        company. This is an attempt to collect at debt and any information obtained

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        will be used for that purpose. Please call us back at 888-541-7018. Thank
        you.

        April 23, 2009 call #4 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. This is Alliance
        One a debt collection company. This is an attempt to collect at debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018. Thank you.

        April 23, 2009 call #5 – Pre-Recorded Message
        This is a message for Charlotte Nicholas, if you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message you acknowledge that you are Charlotte Nicholas. Charlotte
        Nicholas you should not play this message with other people can hear it as it
        contain personal and private information, there will now be a 3 second pause
        to allow you to play this message in private. This is Alliance One
        Receivables Management Inc. a debt collection company. This is an attempt
        to collect at debt and any information obtained will be used for that purpose.
        Please call us back at 888-541-7018. Thank you.

        May 14, 2009 call #1 – Pre-Recorded Message
        This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message, you acknowledge that you are Charlotte Nicholas. This is Alliance
        One, a debt collection company. This is an attempt to collect a debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018. Thank you.

        May 14, 2009 call #2 – Pre-Recorded Message
        This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message, you acknowledge that you are Charlotte Nicholas. Charlotte
        Nicholas, you should not play this message if other people can hear it as it
        contains personal and private information. There will now be a three second
        pause to allow you to play this message in private. This is Alliance One
        Receivables Management Incorporated, a debt collection company. This is
        an attempt to collect at debt and any information obtained will be used for
        that purpose. Please call us back at 888-541-7018. Thank you.

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        May 14, 2009 call #3 – Pre-Recorded Message
        Charlotte Nicholas. If this is Charlotte Nicholas, please press 3 now. If you
        are not Charlotte Nicholas, please press 4 now. Hello this is Alliance One.
        We’re trying to get in contact Charlotte Nicholas. If this is Charlotte
        Nicholas, please press 3 now. If you are not Charlotte Nicholas, please press
        4 now. Hello this is Alliance One. We’re trying to get in contact with
        Charlotte Nicholas. If this is Charlotte Nicholas, please press 3 now. If you
        are not Charlotte Nicholas, please press 4 now.

        May 14, 2009 call #4 – Pre-Recorded Message
        Charlotte Nicholas. If this is Charlotte Nicholas, please press 3 now. If you
        are not Charlotte Nicholas, please press 4 now. Hello this is Alliance One.
        We’re trying to get in contact with Charlotte Nicholas. If this is Charlotte
        Nicholas, please press 3 now. If you are not Charlotte Nicholas, please press
        4 now. Hello this is Alliance One. We’re trying to get in contact with
        Charlotte Nicholas. If this is Charlotte Nicholas, please press 3 now. If you
        are not Charlotte Nicholas, please press 4 now.

        June 15, 2009 – Pre-Recorded Message
        This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
        please hang up or delete this message now. By continuing to listen to this
        message, you acknowledge that you are Charlotte Nicholas. This is Alliance
        One, a debt collection company. This is an attempt to collect a debt and any
        information obtained will be used for that purpose. Please call us back at
        888-541-7018. Thank you.

        11.   Defendant left similar or identical messages on other occasions.

  (Collectively, “the telephone messages”).

        12.   The messages are “communications” as defined by 15 U.S.C.

  §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

  Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).




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        13.    Defendant failed to inform Plaintiff in the messages that the

  communication was from a debt collector and failed to disclose the purpose of

  Defendant’s messages.

        14.    Defendant knew it was required to communicate its status as a debt

  collector and the purpose of its call in telephone messages to Plaintiff.

                             COUNT I
          FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

        15.    Plaintiff incorporates Paragraphs 1 through 13.

        16.    Defendant failed to disclose in the telephone messages that it is a debt

  collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

  Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

  Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

  2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                          COUNT II
      FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

        17.    Plaintiff incorporates Paragraphs 1 through 13.



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        18.     Defendant placed telephone calls to Plaintiff without making

  meaningful disclosure of its identity when it failed to disclose the purpose of

  Defendant’s communication in the telephone messages in violation of 15 U.S.C

  §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-61381-Civ-

  Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September 23, 2008);

  Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982);

  and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.    Damages;

                b.    Attorney’s fees, litigation expenses and costs of suit; and

                c.    Such other or further relief as the Court deems proper.

                        COUNT III
   TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

        19.     Plaintiff incorporates Paragraphs 1 through 13.

        20.     Defendant caused Plaintiff’s telephone to ring repeatedly or

  continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

  §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

  Cal. 2007).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

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               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                          COUNT IV
      ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
         FLORIDA CONSUMER COLLECTION PRACTICES ACT

        21.    Plaintiff incorporates Paragraphs 1 through 13.

        22.    Defendant asserted the right to collect a debt by leaving telephone

  messages for Plaintiff without disclosing that it is a debt collector and the purpose

  of its communications when Defendant knew it did not have a legal right to use

  such collection techniques in violation of Fla. Stat. §559.72(9).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit;

               c.    declaring that Defendant’s practices violate the FCCPA;

               d.    permanently injoining Defendant from engaging in the

               complained of practices; and

               e.    Such other or further relief as the Court deems proper.

                           COUNT V
       HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                 COLLECTION PRACTICES ACT


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         23.    Plaintiff incorporates Paragraphs 1 through 13.

         24.    By failing to disclose that it is a debt collector and the purpose of its

   communication, and by telephoning Plaintiff with such frequency as can be

   reasonably be expected to harass, Defendant willfully engaged in conduct the

   natural consequence of which is to harass in violation of Fla. Stat. §559.72(7).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

   Plaintiff and against Defendant for:

                a.    Damages;

                b.    Attorney’s fees, litigation expenses and costs of suit;

                c.    declaring that Defendant’s practices violate the FCCPA;

                d.    permanently injoining Defendant from engaging in the

                complained of practices; and

                e.    Such other or further relief as the Court deems proper.

                                          JURY DEMAND

          Plaintiff demands trial by jury.

                                             DONALD A. YARBROUGH, ESQ.
                                             Attorney for Plaintiff
                                             Post Office Box 11842
                                             Ft. Lauderdale, FL 33339
                                             Telephone: 954-537-2000
                                             Facsimile: 954-566-2235
                                             donyarbrough@mindspring.com


                                       By: s/ Donald A. Yarbrough

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                                     Donald A. Yarbrough, Esq.
                                     Florida Bar No. 0158658




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